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 5
     Attorneys for Defendants
 6 STARKEYS CORP. and
     SATK CORP.
 7
 8                              UNITED STATES DISTRICT COURT
 9                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                   SAN FRANCISCO DIVISION
11
12 APPLE, INC.,                                     Case No. 3:16-cv-06001-WHO
13              Plaintiff,                          ANSWER OF STARKEYS CORP. AND
14                                                  SATK CORP. TO SECOND AMENDED
            v.                                      COMPLAINT FOR DAMAGES AND
15 MOBILE STAR, LLC, et al.,                        EQUITABLE RELIEF

16                                                  DEMAND FOR JURY TRIAL
             Defendants.
17
18
            Defendants Starkeys Corp. (“Starkeys”) and SATK Corp. (“SATK”), by and through their
19
     undersigned counsel, hereby responds to the Second Amended Complaint for Damages and Equitable
20
     Relief of Apple Inc. (the “Complaint”) as follows. All allegations in the Complaint not otherwise
21
     specifically admitted or denied are hereby denied.
22
23                                            INTRODUCTION
24          1.      Starkeys and SATK lack knowledge or information sufficient to form a belief as to the
25 truth of the allegations in paragraph 1. Starkeys and SATK accordingly deny the same.
26          2.      Starkeys and SATK deny having sold counterfeit or infringing Apple products. Starkeys
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28   ANSWER OF STARKEYS AND SATK TO SECOND AM. COMPL.                        Case No. 3:16-cv-06001-WHO
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 1 and SATK lack knowledge or information sufficient to form a belief as to the truth of the remaining
 2 allegations in paragraph 2. Starkeys and SATK accordingly deny the same.
 3          3.      Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

 4 truth of the allegations in paragraph 3. Starkeys and SATK accordingly deny the same.
 5          4.      Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

 6 truth of the allegations in paragraph 4. Starkeys and SATK accordingly deny the same.
 7          5.      Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

 8 truth of the allegations in paragraph 5. Starkeys and SATK accordingly deny the same.
 9          6.      Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

10 truth of the allegations in paragraph 6. Starkeys and SATK accordingly deny the same.
11          7.      Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

12 truth of the allegations in paragraph 7. Starkeys and SATK accordingly deny the same.
13          8.      Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

14 truth of the allegations in paragraph 8. Starkeys and SATK accordingly deny the same.
15          9.      Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

16 truth of the allegations in paragraph 9. Starkeys and SATK accordingly deny the same.
17          10.     Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

18 truth of the allegations in paragraph 10. Starkeys and SATK accordingly deny the same.
19          11.     Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

20 truth of the allegations in paragraph 11. Starkeys and SATK accordingly deny the same.
21
                                        JURISDICTION AND VENUE
22
23          12.     Starkeys and SATK admit that the Complaint purports to seek preliminary and

24 permanent injunctive relief, damages, and other relief. Starkeys and SATK admit that the Complaint
25 purports to state claims for (1) counterfeiting and trademark infringement; (2) false designation of
26 origin; (3) copyright infringement; (4) unfair competition; and (5) breach of contract. Starkeys and
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28   ANSWER OF STARKEYS AND SATK TO SECOND AM. COMPL.                        Case No. 3:16-cv-06001-WHO
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 1 SATK deny having committed acts of counterfeiting, trademark infringement and unfair competition.
 2 Starkeys and SATK lack knowledge or information sufficient to form a belief as to the truth of the
 3 remaining allegations in paragraph 12. Starkeys and SATK accordingly deny the same.
 4          13.     Paragraph 13 states legal conclusions to which no answer is required. To the extent that

 5 an answer to the allegations of paragraph 13 is required, Starkeys and SATK deny those allegations.
 6          14.     Paragraph 14 states legal conclusions to which no answer is required. To the extent that

 7 an answer to the allegations of paragraph 14 is required, Starkeys and SATK deny those allegations.
 8 Starkeys and SATK specifically deny that they are subject to personal jurisdiction in this district, have
 9 engaged in business activities in this district, have directed business activities to this district, or have
10 committed tortious acts with knowledge that the effects would be in this district.
11          15.     Paragraph 15 states legal conclusions to which no answer is required. To the extent that

12 an answer to the allegations of paragraph 15 is required, Starkeys and SATK deny those allegations.
13          16.     Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

14 truth of the allegations in paragraph 16. Starkeys and SATK accordingly deny the same.
15
                                                   THE PARTIES
16
17          17.     Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

18 truth of the allegations in paragraph 17. Starkeys and SATK accordingly deny the same.
19          18.     Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

20 truth of the allegations in paragraph 18. Starkeys and SATK accordingly deny the same.
21          19.     Starkeys and SATK admit that DGL has a place of business in New Jersey. Starkeys and

22 SATK lack knowledge or information sufficient to form a belief as to the truth of the remaining
23 allegations in paragraph 19. Starkeys and SATK accordingly deny the same.
24          20.     Starkeys and SATK admit that Starkeys is a New York corporation with its principal
                               th
25 place of business at 1431-59 Street, Brooklyn, New York, 11219. Starkeys and SATK deny the
26 remaining allegations in paragraph 20.
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28   ANSWER OF STARKEYS AND SATK TO SECOND AM. COMPL.                           Case No. 3:16-cv-06001-WHO
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 1          21.     Starkeys and SATK admit that SATK is a New York corporation with its principal place
                         th
 2 of business at 1431-59 Street, Brooklyn, New York, 11219. Starkeys and SATK deny the remaining
 3 allegations in paragraph 21.
 4          22.     Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

 5 truth of the allegations in paragraph 22. Starkeys and SATK accordingly deny the same.
 6          23.     Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

 7 truth of the allegations in paragraph 23. Starkeys and SATK accordingly deny the same.
 8          24.     Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

 9 truth of the allegations in paragraph 24. Starkeys and SATK accordingly deny the same.
10          25.     Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

11 truth of the allegations in paragraph 25. Starkeys and SATK accordingly deny the same.
12          26.     Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

13 truth of the allegations in paragraph 26. Starkeys and SATK accordingly deny the same.
14
                         APPLE’S BUSINESS AND INTELLECTUAL PROPERTY
15
16          27.     Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

17 truth of the allegations in paragraph 27. Starkeys and SATK accordingly deny the same.
18          28.     Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

19 truth of the allegations in paragraph 28. Starkeys and SATK accordingly deny the same.
20          29.     Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

21 truth of the allegations in paragraph 29. Starkeys and SATK accordingly deny the same.
22          30.     Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

23 truth of the allegations in paragraph 30. Starkeys and SATK accordingly deny the same.
24          31.     The allegation that “Apple Marks” are distinctive is a legal conclusion to which no

25 answer is required. To the extent that an answer to this allegation of paragraph 31 is required, Starkeys
26 and SATK deny this allegation. Starkeys and SATK lack knowledge or information sufficient to form a
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 1 belief as to the truth of the remaining allegations in paragraph 31. Starkeys and SATK accordingly deny
 2 the same.
 3          32.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

 4 truth of the allegations in paragraph 32. Starkeys and SATK accordingly deny the same.
 5          33.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

 6 truth of the allegations in paragraph 33. Starkeys and SATK accordingly deny the same.
 7
                         DEFENDANTS’ [ALLEGEDLY] UNLAWFUL ACTIONS
 8
 9          34.    Starkeys and SATK deny the allegations in paragraph 34.

10          35.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

11 truth of the allegations in paragraph 35. Starkeys and SATK accordingly deny the same.
12          36.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

13 truth of the allegations in paragraph 36. Starkeys and SATK accordingly deny the same.
14          37.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

15 truth of the allegations in paragraph 37. Starkeys and SATK accordingly deny the same.
16          38.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

17 truth of the allegations in paragraph 38. Starkeys and SATK accordingly deny the same.
18          39.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

19 truth of the allegations in paragraph 39. Starkeys and SATK accordingly deny the same.
20          40.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

21 truth of the allegations in paragraph 40. Starkeys and SATK accordingly deny the same.
22          41.    Starkeys and SATK admit that Starkeys and SATK provided discovery to Apple.

23 Starkeys and SATK lack knowledge or information sufficient to form a belief as to the truth of the
24 remaining allegations in paragraph 41. Starkeys and SATK accordingly deny the same.
25          42.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

26 truth of the allegations in paragraph 42. Starkeys and SATK accordingly deny the same.
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 1          43.    Starkeys and SATK deny that they sold counterfeit Apple products to DGL. Starkeys

 2 and SATK lack knowledge or information sufficient to form a belief as to the truth of the remaining
 3 allegations in paragraph 43. Starkeys and SATK accordingly deny the same.
 4          44.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

 5 truth of the allegations in paragraph 44. Starkeys and SATK accordingly deny the same.
 6          45.    Starkeys and SATK deny the allegations in paragraph 45.

 7          46.    Starkeys and SATK admit that they are located at the same address, which is a

 8 residence, and that both companies are managed by the same individual, Aron Kohn. Starkeys and
 9 SATK admit that DGL is their sole customer. Starkeys and SATK admit that DGL requested samples
10 of products from Starkeys and/or SATK. Starkeys and SATK admit that when they received products,
11 they usually sold and transferred those products to DGL. Starkeys and SATK deny the remaining
12 allegations in paragraph 46.
13          47.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

14 truth of the allegations in paragraph 47. Starkeys and SATK accordingly deny the same.
15          48.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

16 truth of the allegations in paragraph 48. Starkeys and SATK accordingly deny the same.
17          49.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

18 truth of the allegations in paragraph 49. Starkeys and SATK accordingly deny the same.
19          50.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

20 truth of the allegations in paragraph 50. Starkeys and SATK accordingly deny the same.
21          51.    Starkeys and SATK deny the allegations of paragraph 51 insofar as those allegations

22 relate to Starkeys and SATK. Starkeys and SATK lack knowledge or information sufficient to form a
23 belief as to the truth of the remaining allegations in paragraph 51. Starkeys and SATK accordingly deny
24 the same.
25          52.    Starkeys and SATK deny the allegations of paragraph 52 insofar as those allegations

26 relate to Starkeys and SATK. Starkeys and SATK lack knowledge or information sufficient to form a
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28   ANSWER OF STARKEYS AND SATK TO SECOND AM. COMPL.                     Case No. 3:16-cv-06001-WHO
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 1 belief as to the truth of the remaining allegations in paragraph 52. Starkeys and SATK accordingly deny
 2 the same.
 3          53.     Starkeys and SATK deny the allegations of paragraph 53 insofar as those allegations

 4 relate to Starkeys and SATK. Starkeys and SATK lack knowledge or information sufficient to form a
 5 belief as to the truth of the remaining allegations in paragraph 53. Starkeys and SATK accordingly deny
 6 the same.
 7                                      FIRST CLAIM FOR RELIEF
                  (Trademark Counterfeiting and Infringement Under § 32(l) of the Lanham Act)
 8                                         (Against All Defendants)

 9          54.     Starkeys and SATK hereby repeat and incorporate herein the responses set forth in

10 paragraphs 1-53 above.
11          55.     Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

12 truth of the allegations in paragraph 55. Starkeys and SATK accordingly deny the same.
13          56.     Starkeys and SATK deny the allegations of paragraph 56 insofar as those allegations

14 relate to Starkeys and SATK. Starkeys and SATK lack knowledge or information sufficient to form a
15 belief as to the truth of the remaining allegations in paragraph 56. Starkeys and SATK accordingly deny
16 the same.
17          57.     Starkeys and SATK deny the allegations of paragraph 57 insofar as those allegations

18 relate to Starkeys and SATK. Starkeys and SATK lack knowledge or information sufficient to form a
19 belief as to the truth of the remaining allegations in paragraph 57. Starkeys and SATK accordingly deny
20 the same.
21          58.     Starkeys and SATK deny the allegations of paragraph 58 insofar as those allegations

22 relate to them. Starkeys and SATK lack knowledge or information sufficient to form a belief as to the
23 truth of the remaining allegations in paragraph 58. Starkeys and SATK accordingly deny the same.
24          59.     Paragraph 59 states legal conclusions to which no answer is required. To the extent that

25 an answer to the allegations of paragraph 59 is required, Starkeys and SATK deny those allegations.
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28   ANSWER OF STARKEYS AND SATK TO SECOND AM. COMPL.                       Case No. 3:16-cv-06001-WHO
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 1                                    SECOND CLAIM FOR RELIEF
                     (False Designation of Origin under § 43(a)(1)(A) of the Lanham Act)
 2                                         (Against All Defendants)

 3          60.    Starkeys and SATK hereby repeat and incorporate herein the responses set forth in
 4 paragraphs 1-59 above.
 5          61.    Starkeys and SATK deny the allegations of paragraph 61 insofar as those allegations
 6 relate to Starkeys and SATK. Starkeys and SATK lack knowledge or information sufficient to form a
 7 belief as to the truth of the remaining allegations in paragraph 61. Starkeys and SATK accordingly deny
 8 the same.
 9          62.    Paragraph 62 states legal conclusions to which no answer is required. To the extent that
10 an answer to the allegations of paragraph 62 is required, Starkeys and SATK deny those allegations.
11          63.    Paragraph 63 states legal conclusions to which no answer is required. To the extent that
12 an answer to the allegations of paragraph 63 is required, Starkeys and SATK deny those allegations.
13          64.    Paragraph 64 states legal conclusions to which no answer is required. To the extent that
14 an answer to the allegations of paragraph 64 is required, Starkeys and SATK deny those allegations.
15
                                      THIRD CLAIM FOR RELIEF
16                          (Copyright Infringement under 17 U.S.C. § 501 et seq.)
                                             (Against Mobile Star)
17
18          65.    Starkeys and SATK hereby repeat and incorporate herein the responses set forth in

19 paragraphs 1-64 above.
20          66.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

21 truth of the allegations in paragraph 66. Starkeys and SATK accordingly deny the same.
22          67.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

23 truth of the allegations in paragraph 67. Starkeys and SATK accordingly deny the same.
24          68.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

25 truth of the allegations in paragraph 68. Starkeys and SATK accordingly deny the same.
26          69.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

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28   ANSWER OF STARKEYS AND SATK TO SECOND AM. COMPL.                       Case No. 3:16-cv-06001-WHO
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 1 truth of the allegations in paragraph 69. Starkeys and SATK accordingly deny the same.
 2          70.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

 3 truth of the allegations in paragraph 70. Starkeys and SATK accordingly deny the same.
 4          71.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

 5 truth of the allegations in paragraph 71. Starkeys and SATK accordingly deny the same.
 6          72.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

 7 truth of the allegations in paragraph 72. Starkeys and SATK accordingly deny the same.
 8          73.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

 9 truth of the allegations in paragraph 73. Starkeys and SATK accordingly deny the same.
10
                                    FOURTH CLAIM FOR RELIEF
11        (Unfair Competition under Cal. Bus. & Prof. Code § 17200, et seq. and Cal. Common Law)
                                          (Against All Defendants)
12
13          74.    Starkeys and SATK hereby repeat and incorporate herein the responses set forth in

14 paragraphs 1-73 above.
15          75.    Paragraph 75 states legal conclusions to which no answer is required. To the extent that

16 an answer to the allegations of paragraph 75 is required, Starkeys and SATK deny those allegations.
17          76.    Paragraph 76 states legal conclusions to which no answer is required. To the extent that

18 an answer to the allegations of paragraph 76 is required, Starkeys and SATK deny those allegations.
19
                                       FIFTH CLAIM FOR RELIEF
20                                         (Breach of Contract)
                                             (Against DGL)
21
22          77.    Starkeys and SATK hereby repeat and incorporate herein the responses set forth in

23 paragraphs 1-76 above.
24          78.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

25 truth of the allegations in paragraph 78. Starkeys and SATK accordingly deny the same.
26          79.    Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

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28   ANSWER OF STARKEYS AND SATK TO SECOND AM. COMPL.                       Case No. 3:16-cv-06001-WHO
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 1 truth of the allegations in paragraph 79. Starkeys and SATK accordingly deny the same.
 2          80.     Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

 3 truth of the allegations in paragraph 80. Starkeys and SATK accordingly deny the same.
 4          81.     Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

 5 truth of the allegations in paragraph 81. Starkeys and SATK accordingly deny the same.
 6          82.     Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

 7 truth of the allegations in paragraph 82. Starkeys and SATK accordingly deny the same.
 8          83.     Starkeys and SATK lack knowledge or information sufficient to form a belief as to the

 9 truth of the allegations in paragraph 83. Starkeys and SATK accordingly deny the same.
10
                                          AFFIRMATIVE DEFENSES
11
12          1.      The Complaint fails to state a claim for which relief may be granted.

13          2.      Starkeys and SATK are not subject to personal jurisdiction in this state or district.

14          3.      The alleged acts of Starkeys and SATK have not damaged Plaintiff.

15          4.      The alleged acts of Starkeys and SATK constitute a fair use of Plaintiff’s alleged marks.

16          5.      One or more of Plaintiff’s alleged marks are generic.

17          6.      One or more of Plaintiff’s alleged marks are functional.

18          7.      One or more of Plaintiff’s alleged marks are merely ornamental.

19          8.      One or more of Plaintiff’s alleged marks have been abandoned through failure to

20 maintain quality control (i.e., naked licensing).
21          9.      Plaintiff’s alter ego allegations are insufficient to establish liability of Starkeys or SATK

22 for the alleged acts of Defendant DGL Corp.
23 //
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 1                                        PRAYER FOR RELIEF

 2           WHEREFORE, Starkeys and SATK respectfully request that the Court enter a judgment:

 3           1.    Dismissing Plaintiff’s claims against Starkeys and SATK with prejudice and on the

 4 merits;
 5           2.    Awarding Starkeys and SATK their costs of suit herein;

 6           3.    Awarding Starkeys and SATK such attorneys’ fees as may be allowed by applicable

 7 law; and
 8           4.    Awarding such other relief as may be just and proper.

 9
10 Dated: October 10, 2017                      Respectfully submitted,

11                                              SHADES OF GRAY LAW GROUP, P.C.
                                                NAOMI JANE GRAY
12
13                                                     /s/ Naomi Jane Gray
                                                _____________________________
14                                              Attorneys for Defendants
                                                Starkeys Corp. and
15                                              SATK Corp.
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 1                                     DEMAND FOR JURY TRIAL

 2         Pursuant to Federal Rule of Civil Procedure 38(b) and Civil Local Rule 3-6, Starkeys and

 3 SATK demand a trial by jury on all issues so triable.
 4
 5 Dated: October 10, 2017                      Respectfully submitted,

 6                                              SHADES OF GRAY LAW GROUP, P.C.
                                                NAOMI JANE GRAY
 7
 8                                                     /s/ Naomi Jane Gray
                                                _____________________________
 9                                              Attorneys for Defendants
                                                Starkeys Corp. and
10                                              SATK Corp.
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